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HILLSDALE COLLEGE

               IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAII
USAA LIFE INSURANCE         )         CIVIL NO. 16-00537 KJM
                            )
COMPANY, a Texas Corporation,
                            )         DEFENDANT/CROSS-CLAIM
                            )         DEFENDANT HILLSDALE
             Plaintiffs,    )         COLLEGE’S ANSWER TO
                            )         COMPLAINT IN INTERPLEADER,
                            )         FILED SEPTEMBER 30, 2016;
              vs.           )         CROSS-CLAIM AGAINST
                            )         DEFENDANTS ESTATE OF GAYLE
                            )         B. GARDNER, DOROTHY
ESTATE OF GAYLE B. GARDNER, )         GARDNER, WEN LEI SASAKI,
et al.,                     )         GREGORY B. GARDNER, THE
                            )         GAYLE B. GARDNER TRUST
                            )         DATED DECEMBER 29, 2015;
             Defendants.    )         CERTIFICATE OF SERVICE
                            )
                            )
                            )
                            )
                            )         Trial Date: Trial has not been set
                            )
                            )
                            )         Related Doc. No. 1
                            )
 DEFENDANT/CROSS-CLAIM DEFENDANT HILLSDALE COLLEGE’S
        ANSWER TO COMPLAINT IN INTERPLEADER,
               FILED SEPTEMBER 30, 2016

      COMES NOW Defendant Hillsdale College (“College”), a 501(c)(3) non-

profit educational institute, by and through its undersigned counsel, and responding

to the Complaint In Interpleader (“Complaint”) filed herein on September 30, 2016

by Plaintiff USAA Life Insurance Company (“USAA”), answers as follows:

      1.     College admits the allegations contained in Paragraphs 1, 2, 3, 4, 6.a-
d., 7, 9, 10, 12, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 30, 33, 34,
35a.- 35d., and 41 of the Complaint.
      2.     In answer to Paragraphs 5, 8, 11, 14, 31, 32.a., 32.b., 32.c., 36, 37, 38,
40, 42, 43, 44, 45, 46 and 47 of the Complaint, College states that it is without
knowledge or information sufficient to form a belief about the truth of the matters
alleged therein.
      3.     In answer to Paragraph 13 of the Complaint, College admits that

Gayle Gardner (“Decedent”) obtained the annuity from USAA and that Decedent

died in July of 2016 while a resident and citizen of Hawaii, but is without

knowledge or information sufficient to form a belief about the truth of the

remaining allegations therein.

      4.     In answer to Paragraph 29 of the Complaint, College repeats its

answers to Paragraphs 1 through 28 of the Complaint.

      5.     In answer to Paragraph 32.d. of the Complaint, College admits being

named as a primary beneficiary of the annuity and that Decedent died in July of

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2016, but is without knowledge or information sufficient to form a belief about the

truth of the remaining allegations contained therein.

      6.     In answer to Paragraph 39 of the Complaint, College admits that it is a

beneficiary of the annuity, but is without knowledge or information sufficient to

form a belief about the truth of the remaining allegations contained therein.

      7.     College denies each and every other allegation of the Complaint that

is not specifically addressed above.

      WHEREFORE, College requests that this Court order and adjudge College

to be a proper beneficiary of the annuity and award College its portion of the

annuity, prejudgment and post-judgment interest, costs of suit, reasonable

attorney’s fees, and such legal and equitable relief as is just and appropriate.

       DATED:       Honolulu, Hawaii, January 5, 2017.


                                               /s/ Steven K. S. Chung
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                                               STEVEN K. S. CHUNG
                                               MICHAEL L. IOSUA
                                               LI LI
                                               Attorneys for Defendant
                                               HILLSDALE COLLEGE




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                 IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII
USAA LIFE INSURANCE         )             CIVIL NO. 16-00537 KJM
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COMPANY, a Texas Corporation,
                            )             CROSS-CLAIM AGAINST
                            )             DEFENDANTS ESTATE OF GAYLE
             Plaintiffs,    )             B. GARDNER, DOROTHY
                            )             GARDNER, WEN LEI SASAKI,
                            )             GREGORY B. GARDNER, AND
              vs.           )             THE GAYLE B. GARDNER TRUST
                            )             DATED DECEMBER 29, 2015
                            )
ESTATE OF GAYLE B. GARDNER, )
et al.,                     )
                            )
                            )             Trial Date: Trial has not been set
             Defendants.    )
                            )
                            )             Related Doc. No. 1
                            )

   CROSS-CLAIM AGAINST DEFENDANTS ESTATE OF GAYLE B.
  GARDNER, DOROTHY GARDNER, WEN LEI SASAKI, GREGORY B.
       GARDNER, AND THE GAYLE B. GARDNER TRUST
                DATED DECEMBER 29, 2015

      COMES NOW Defendant/Cross-Claim Defendant/Cross-Claimant Hillsdale
College (“College”), by and through its undersigned counsel, and incorporating its
Answer to the Complaint In Interpleader, filed herein on September 30, 2016 by
Plaintiff USAA Life Insurance Company, and asserts the following Cross-Claim
against Defendants Estate of Gayle B. Gardner, Dorothy Gardner, Wen Lei Sasaki,
Gregory B. Gardner, and The Gayle B. Gardner Trust dated December 29, 2015.
                                  THE PARTIES
        1.   Defendant/Cross-Claim Defendant/Cross-Claimant Hillsdale College
is and at all times relevant herein was a 501(c)(3) non-profit educational institute
located in and a citizen of Hillsdale, Michigan.
        2.   Plaintiff USAA Life Insurance Company (“USAA”) is and at all time
relevant herein was a Texas Corporation.
        3.   Decedent Gayle Gardner (“Decedent”) died in the month of July
2016.
        4.   College is informed and believes and based on that information and
belief alleges that at the time of his death Decedent was a resident of the City and
County of Honolulu, State of Hawaii.
        5.   College is informed and believes and based on that information and
belief alleges that Defendant Estate of Gayle B. Gardner (“Estate”) is or will be
opened in a probate court in the City and County of Honolulu, State of Hawaii.
        6.   Defendant Dorothy Gardner (“Mrs. Gardner”) is Decedent’s surviving
spouse and alleges in her Answer to the Complaint that she is a resident and citizen
of Hawaii.
        7.   Defendant Wen Lei Sasaki (“Sasaki”) alleges in her Answer to the
Complaint that she is a resident and citizen of Hawaii.
        8.   College is informed and believes and based on that information and
belief alleges that Defendant Gregory Gardner (“Gregory”) is the son of Decedent
and Mrs. Gardner who resides in and is a citizen of Kansas.
        9.   College is informed and believes and based on that information and
belief alleges that The Gayle B. Gardner Trust dated December 29, 2015 (“Trust”)
is an irrevocable trust with a situs in the City and County of Honolulu, State of
Hawaii, and the current trustee(s) of the trust are unknown.


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      10.    This Cross-Claim relates to the flexible premium deferred annuity
(“Annuity”) that Decedent obtained from USAA and which is the subject of the
Complaint in Interpleader (“Complaint”) that USAA filed herein.
      11.    As alleged in the Complaint, Decedent intended at the time of his
death for College to be a primary beneficiary of the Annuity, the value of which is
alleged to have been worth $1,415,510.31 when Decedent died.
      12.    As alleged in the Complaint, Estate, Mrs. Gardner, Sasaki, Gregory
and Trust may have an interest in the Annuity.
                          JURISDICTION AND VENUE
      13.    This Cross-Claim in Interpleader arises as a result of a claim to the
Annuity made by Mrs. Gardner, who was not named as a beneficiary at the time of
Decedent’s death.
      14.    College is informed and believes and based on that information and
belief alleges that at the time of Decedent’s death, the beneficiaries of the Annuity
were College, Sasaki, Gregory and Trust.
      15.    College, Estate, Mrs. Gardner, Sasaki, Gregory and Trust have been
named as defendants in the Complaint due to the potential conflicting claims to the
Annuity that they have asserted or may assert.
      16.    The Court has jurisdiction over this Cross-claim pursuant to 28 U.S.C.
§ 1335 as the amount of the Annuity exceeds $500.00 and the adverse claimants to
the Annuity are citizens of different states.
      17.    Venue is proper pursuant to 28 U.S.C. § 1397 as this Cross-Claim is
brought in the City and County of Honolulu, State of Hawaii which is the judicial
district where Mrs. Gardner and Sasaki reside, the Trust was established and
probate for the Estate has been or will be opened.




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    INTERPLEADER CLAIM AGAINST ALL OTHER DEFENDANTS
      18.    College is informed and believes and based on that information and
belief alleges that at the time of Decedent’s death the most recent endorsement or
beneficiary designation identified College, Sasaki, Gregory and Trust as the
beneficiaries of the annuity.
      19.    College is informed and believes and based on that information and
belief alleges that Decedent intended for College to receive the first $1,000,000
from the annuity, with the balance to be distributed to Sasaki, Gregory and Trust in
equal shares.
      20.    College seeks a declaratory judgment against all other defendants that:
             a.     the most recent endorsement to the annuity naming College as a
             primary beneficiary is valid;
             b.     the value of the annuity was $1,415,510.31 on the date
             Decedent died;
             c.     College is to receive the first $1,000,000 from the annuity if the
             total value or funds available is reduced for any reason.
      WHEREFORE, College prays for the following relief:
      1.     The Court declare that College is a designated primary beneficiary of
the annuity and entitled to $1,000,000.
      2.     The Court determine that the rights of all other defendants in this
matter are subject and subordinate to the rights and interests of College.
      3.     College be awarded its costs and reasonable attorney’s fees.
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4.   College be awarded such further relief as is just and proper.
DATED:     Honolulu, Hawaii, January 5, 2017.


                                     /s/ Steven K. S. Chung
                                     ______________________________
                                     STEVEN K. S. CHUNG
                                     MICHAEL L. IOSUA
                                     LI LI
                                     Attorneys for Defendant
                                     HILLSDALE COLLEGE




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